235 F.3d 578 (11th Cir. 2000)
    Robert N. HARRIS, Jill Katz, et al., Plaintiffs-Appellants,v.FLORIDA ELECTIONS COMMISSION, Florida Elections Canvassing Commission, et al., Defendants-Appellees.Steven Medina, Daniel H. Donaldson, et al., Plaintiffs-Appellants,v.Florida Elections Canvassing Commission, Katherine Harris, Secretary of State of Florida, et al., Defendants-Appellees.
    Nos. 00-16423, 00-16424.
    United States Court of Appeals, Eleventh Circuit.
    December 11, 2000.December 21, 2000
    
      Appeals from the United States District Court for the Northern District of  Florida. (No. 00-00453-4:CV-MP, 00-00459-4-CV-MP), Maurice M. Paul, Judge.
      Before EDMONDSON, BLACK and CARNES, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal1 is about counting overseas absentee ballots in a presidential  election and an attack on paragraph 7 of Rule 1S-2.013 of the Florida  Administrative Code. Plaintiff-Appellants want us to nullify paragraph 7. The  pertinent part of the Rule reads this way:
    
    
      2
      With respect to the presidential preference primary and the general election,  any absentee ballot cast for a federal office by an overseas elector which is  postmarked or signed and dated no later than the date of the Federal election  shall be counted if received no later than 10 days from the date of the  Federal election as long as such absentee ballot is otherwise proper. Overseas  electors shall be informed by the supervisors of elections of the provisions  of this rule, i.e., the ten day extension provision for the presidential  preference primary and the general election, and the provision for voting for  the second primary.
    
    
      3
      This rule has been in place and followed for roughly sixteen years.
    
    
      4
      The Rule is, in effect, a federal court order dealing with how presidential  elections in Florida must accommodate Florida residents, including members of  the armed forces of the United States, who are outside of the country on  election day.2 The cases underlying this appeal were first brought in state  courts. Defendants removed the cases to federal court. The federal courts had  jurisdiction, because, among other things, the state defendants were being sued  to stop them from complying with the Rule, which (given the circumstances of its  creation) was, in effect, the order of a federal court.3
    
    
      5
      Turning to the merits, we see no reversible error in the district court's  judgment. We note in passing that the district court's views are consistent with recent comments of Florida's highest court about the working of the absentee  ballot law.4 We also observe that to read Florida's law as Plaintiffs ask us to  do would be a significant change in the actual election practices of Florida.5  While Florida law seems to favor counting ballots, this change would take away  the votes of thousands of Florida citizens-including members of America's armed  forces on duty outside of the country pursuant to the nation's orders-who, to  cast their ballots, just did what they were told by Florida's election  officials.6 In addition, we have seen nothing and been cited to nothing  indicating that Florida's legislature-during the sixteen years of the Rule's  existence-has ever expressed an intent to overrule the Rule legislatively.
    
    
      6
      AFFIRMED.
    
    
      
        NOTES:
      
      
        1
         This appeal arises from two separate cases which have been consolidated; but we  refer to them as one for our purposes.
      
      
        2
         See Fla. Admin. Code 1S-2.013. For a brief history of the federal court  litigation (which was itself based on the laws of the United States) leading to  the development of the administrative rule in question, see the district court's  opinion in this case. See Harris et al. v. Florida Elections Canvassing  Commission, No. 4:00cv453 (N.D.Fla. Dec. 9, 2000). We can take judicial notice  of the records of proceedings in this circuit's district courts. See United  States v. Glover, 179 F.3d 1300, 1303 n. 5 (11th Cir.1999). We see that before  the Rule was implemented by Florida, the text of the rule was presented to a  United States District Judge-Judge Stafford-as part of the state remedial plan  to comply with the consent decree entered between Florida and the federal  government in 1982. After Judge Stafford looked at the proposed rule, Judge  Stafford's order approved of the plan, ordered the Rule implemented and directed  Florida to provide him notice when the Rule was promulgated.
      
      
        3
         Incidentally, Plaintiffs themselves indicate to us that federal questions may  play a necessary role in resolving their purported state cause of action. First,  in the Harris case, Plaintiffs demanded that the court order Florida's Governor  to "transmit to the President of the U.S. Senate a corrected certificate of  ascertainment as to the electors selected by the state of Florida in the  Presidential and Vice-Presidential election on November 7, 2000." The Governor's  duty to transmit the certificate of ascertainment is a duty based on federal law  governed by 3 U.S.C.  6. For a court to order the Governor to act under 3  U.S.C.  6 would seem to require the court to decide the scope of the Governor's  duty under the federal statute: a question of federal law. By the way, we do not  decide that a federal court has even arguable authority to grant relief by  ordering a state's governor to act as Plaintiffs have requested.
        Second, Plaintiffs, in their main brief to us, characterize their claims, in  both cases, as presenting issues of federal law: they say "Plaintiffs alleged  that in violation of Article II of the United States Constitution, 3 U.S.C.  1,  and Florida law, 2,490 ballots received after election day were counted and  included in the final certification by the Defendant Florida Elections  Canvassing Commission, which includes defendants Harris and Roberts as officials  in the Secretary of State's office." (emphasis added). Plaintiffs filed a  consolidated brief, that is, one brief for the two underlying cases. Although we  do not treat this sentence as a decisive admission by itself, that Plaintiffs  themselves recognize that their allegations were claims of rights under federal  law, strengthens our conclusion that issues of federal law are a necessary part  of Plaintiffs' claim. See Franchise Tax Bd. v. Const. Laborers Vac. Trust, 463  U.S. 1, 103 S.Ct. 2841, 2846, 77 L.Ed.2d 420 (1983) (allowing removal "where the  vindication of a right under state law necessarily turned on some construction  of federal law.").
        And we do not rule out other bases that federal jurisdiction might exist. See  generally, Striff v. Mason, 849 F.2d 240, 245 (1988) (finding that claims "had a  sufficient federal character to support removal" because of related federal  consent decree); United States v. City of New York, 972 F.2d 464, 469 (1992) and  Xiong v. State of Minnesota, et al., 195 F.3d 424, 426 (1999) (both finding  removal authority under 28 U.S.C.  1651, the All Writs Act).
      
      
        4
         In Palm Beach County Canvassing Board v. Harris, Nos. SC00-2346, SC00-2348 and  SC00-2349 slip op. at 30 (Fla. Nov. 21 2000), the Florida Supreme Court wrote  these words: "Our state statutory scheme has been superseded by federal law  governing overseas voters; overseas ballots must be counted if received no later  than ten days following the election (i.e. the ballots do not have to be  received by 7:00 p.m. of the day of the election as provided by state law)."  These words might have been dicta. And, the opinion in which they appeared led  to a judgment that has been vacated. Still we conclude that, because they are  the words of Florida's highest court, what the state supreme court wrote is  important and persuasive on how the absentee ballot law has worked (and is  supposed to work) in Florida.
      
      
        5
          Apart from questions of simple fairness, such a change might raise legal  concerns. See 42 U.S.C.  1973c.
      
      
        6
          The Florida election officials were themselves doing, in effect, what they were  told to do by the federal court.
        The Florida Supreme Court has said that where absentee voters have done as they  were instructed to do by election officials, their ballots should be counted  even where the instructions were based upon a misunderstanding of state law. See  Beckstrom v. Volusia County Canvassing Bd., 707 So.2d 720, 724-25 (Fla.1998). Plaintiffs claim that what overseas voters were told is not clear. The pertinent  administrative rule, however, requires that county election officials notify  overseas voters of the ten-day extension period; and record evidence exists that  this requirement has been followed.
      
    
    